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                                                           UNITED STATES DISTRICT
                                                           COURT SOUTHERN DISTRICT OF
                                                           FLORIDA

                                                           MIAMI DIVISION

                                                           Case No.: 1:18-CV-24100-COOKE/
                                                           GOODMAN

   DIGNA VINAS,

          Plaintiff,

   vs.

  THE INDEPENDENT ORDER
  OF FORESTERS,

         Defendant.
   _______________________________/

         PLAINTIFF’S STATEMENT OF MATERIAL FACTS IN SUPPORT OF
                     MOTION FOR SUMMARY JUDGMENT

     Foresters convinces Digna and Rigoberto Vinas to switch life insurance providers by
                reassuring them not to fear the two-year contestability period.

          1.      The late Rigoberto Vinas (Mr. Vinas) needed life insurance and was referred to
   Foresters. (Ex. A, October 16, 2020 Deposition of Digna Vinas (“Vinas Depo”), at p. 30,
   lines 2-8). Foresters dispatched sales agent Jazmin Lightbourn to the Vinas home to sell them
   a policy. (Id. at 29). Foresters’ own file materials identify Jazmin Lightbourn as an “agent”
   in numerous places. (Ex. B, “Production File,” at pp. 18,19, 52, 153, 154, 159 and 160).
          2.      Foresters’ entire sales force is composed of independent agents to whom it
   supplies all sales materials, including the applications to be completed by the proposed
   insured. (Ex. C, October 13, 2020 Deposition of Doug Parrott (“Parrott Depo”), at 39-40, 92-
   93). Foresters does not want its customers to know that its “independent agents” are anything
   other than a representative of Foresters. The “insured is not expected to distinguish between
   whether that person is technically employed by an intermediate agency,” and “that’s the way
   Foresters wants it.” (Parrott Depo, Ex. C., at p. 92, l. 13 – p. 93, l. 4).
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           3.         Foresters authorizes its independent agents to make accurate representations
   about the policy terms. (Id. at 40-41). Mr. and Ms. Vinas asked the sales agent about losing
   benefits if Mr. Vinas died during the two-year contestability period. (Vinas Depo, Ex. A, at
   p. 99, lines 8-19).
           4.         Mr. and Ms. Vinas sat with the sales agent at their table to discuss the policy.
   (Vinas Depo, Ex. A, at p. 32, l. 16 – p. 33, l. 2). As far as Mrs. Vinas was concerned, “Jazmin
   was Foresters. As far as we were concerned, when we talked to Jazmin, we were talking to
   Foresters. . .” (Id. at p. 114, lines 1-3). “As far as we were concerned, she belonged to
   Foresters. That’s it.” (Id. at p. 57, lines 7-8).
           5.         At Foresters, the sales and marketing departments have no actual knowledge
   of how the claims and underwriting departments address the “best knowledge and belief”
   requirement in the Application. (Parrott Depo, Ex. C., at p. 35, l. 16 – p. 36, l. 1; p. 63, l. 24
   - p. 64, l. 21).
           6.         Foresters’ sales department does not train sales agents on how Foresters applies
   the best knowledge and belief clause. (Id. at p. 65, lines 1-13) (“not aware” of any such
   training).
           7.         Nevertheless, the sales agent reaffirmed that Foresters would not rescind the
   policy for material misrepresentation “as long as you put the truth . . . . The only thing, you
   might have to give more documents or they might investigate you deeper.” (Vinas Depo, Ex.
   A, at p. 35, l. 20-25).
           8.         Mr. and Ms. Vinas came to the joint decision to cancel Mr. Vinas’ existing
   policy and switch to Foresters. (Id., at p. 48, l. 17 – p. 49, l. 3) (explaining that “we got to the
   decision . . . that we were going to cancel”).
           9.         Mr. and Ms. Vinas completed the application with the sales agent at their
   home. (Id. at p. 44, l. 19 – p. 45, l. 3 (observing that “the writing had to be Jazmin’s” on the
   application)).
           10.        Mr. Vinas died of a heart attack on January 11, 2017. (Id., at p. 94, lines 19-
   22).
           11.        Foresters automatically contested the certificate because Mr. Vinas died within
   the contestability period. (March 4-5, 2020 Deposition of David Sullivan (“Sullivan Depo”),
   Ex. D, at p. 260, lines 6-18).

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             12.   The contestable claim file was assigned to Lisa Buckland. (Id., at p. 172, lines
   16-18).
             13.   Ms. Buckland did not review the claim to determine Mr. Vinas’ best knowledge
   and belief; “it wasn’t a question of what [Mr. Vinas] knew or not, it was what the diagnosis
   was.” (March 4, 2020 Deposition of Lisa Buckland (“Buckland Depo”), Ex. E, at p. 56, lines
   9-11). It also was not part of the “normal process” to review the file for indications of an
   insured’s best knowledge and belief. (Id. at p. 53, lines 13-24).
             14.   Similarly, Foresters does not call its insured’s doctors in order to determine the
   insured’s best knowledge and belief. (Sullivan Depo, Ex. D, at p. 290, lines 1-7).
             15.   Ms. Buckland admitted she would write a letter recommending recission of an
   insured’s policy (“do up a recission letter”) any time an answer to an application question
   seemed incorrect, without first making a “determination whether the insured knew of the
   condition.” (Buckland Depo., Ex. E, at p. 20, lines 17-25).
             16.   CR David Sullivan provided testified that based upon facts already in Foresters’
   file in 2017, Mr. Vinas’ best knowledge and belief (“BK&B”) was that he did not have diabetes
   and that the claim should not have been denied. (Sullivan Depo, Ex. D, at p. 122, l. 25 – p.
   23, l. 20; p. 140, l.22 – p. 144, l. 25; p. 197, lines 17-22; p. 299 l. 7 – p. 300, l.3; p. 345, lines
   20-23).
             17.   CR Doug Parrot testified that if he were to discover that the claims department
   had not tried to determine Mr. Vinas’ best knowledge and belief, he would “have a problem
   with that,” because Foresters’ “standard for accuracy” during the contestability claim is “the
   insured’s best knowledge and belief, whether they are telling the truth or not.” (Parrott Depo,
   Ex. C, at p. 85, l. 5 – p. 86, l. 23). Processing claims under different terms than the policy was
   sold would be selling the policy “under, let’s say, false pretenses or with a representation that
   wasn't true … [it] would not be in line with who we are” as a company. (Id., at p. 86, lines 2-
   23).
             18.   Foresters would later admit that the contested claims specialist was wrong, and
   that benefits should have been paid because, even if Foresters had evaluated his medical
   history during the underwriting period, the underwriting guidelines directed that the
   certificate should issue anyway. (Sullivan Depo, Ex. D, at p. 390, l. 24 – p. 405, l. 15).



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            19.   On April 5, 2017, Foresters issued a denial letter. Foresters took the position
   that “Mr. Vinas had been diagnosed as having Diabetes at the time the application was
   taken,” and that “his then-present diagnosis of Diabetes should have been disclosed at the
   time the application and questionnaire was completed.” (Ex. F, “Denial Letter,”). Foresters
   did not purport to have investigated or determined Mr. Vinas’ best knowledge and belief.
   (Id.). Foresters also incorrectly claimed that “[h]ad accurate and complete information
   regarding Mr. Vinas’ health and medical treatment been disclosed at the time the application
   and questionnaire was completed, the certificate would not have been issued as applied for.”
   (Id.).
            20.   Foresters CR Doug Parrott testified that, between 2014 and 2018, employees
   in the sales and marketing departments did not “make any inquiry, check, confirm, or
   otherwise determine whether the claims department,” during the contested claims process,
   “was, in fact, or wasn’t, in fact, making inquiry to determine the insureds’ best knowledge
   and belief.” (Parrott Depo, Ex. C, at p. 63, l. 24-p. 64, l. 24).
                                  CERTIFICATE OF SERVICE
            I HEREBY CERTIFY a true and correct copy of was filed with the Clerk of this Court
   via the CM/ECF filing and that a copy has been sent via electronic mail this 5th day of
   February 2021 to Kristina B. Pett, Esq. Kristina.pett@mhllp.com and Danielle Shure, Esq.,
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                                                       and




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